 

Case 2:16-cr-20195-NGE-RSW ECF No. 12 filed 03/22/16 PagelD.19 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,

Plaintiff,
Criminal No. 16-cr-20195
Vv.
Honorable Nancy G. Edmunds
Brian Maurice Brown,

Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT OF INDICTMENT

 

I, Brian Maurice Brown, defendant in this case, hereby acknowledge that I
‘have received a copy of the Indictment before entering my plea and that I have
read it and understand its contents.

I know that if lam convicted or plead guilty, I may be sentenced as follows:

Count One: Up to 10 years imprisonment, a $250,000, fine. :
Fike jy «

 

aac .
Brian Maurice Brown

Defendant

  

ACKNOWLEDGMENT OF DEFENSE COUNSEL

I acknowledge that Iam counsel for defendant and that I have received a copy
of the Standing Order for Discovery and Inspection which requires all pre-trial
motions to be filed within twenty (20) days of arraignment.

      
 

aS
en B. Fishman

nsel for Defendant

 

Dated: 3hraly . Co

 

 
